Case 1:14-ml-02570-RLY-TAB Document 22517 Filed 08/10/22 Page 1 of 5 PageID #:
                                 132819


                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


IN RE: COOK MEDICAL, INC, IVC FILTERS
                                                             Case No. 1:14-ml-2570-RLY-TAB
MARKETING, SALES PRACTICES AND
                                                                               MDL No. 2570
PRODUCTS LIABILITY LITIGATION

This Document Relates to Plaintiff(s)



 Alex Souza

 Civil Case # 1:21-cv-06443-RLY-TAB


                     6(&21'$0(1'('SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document

213). Plaintiff(s) further show the court as follows:

       1. Plaintiff/Deceased Party:

            Alex Souza

       2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

            claim:

            N/A

       3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

            N/A

       4.   Plaintiff’s/Deceased Party’s state of residence at the time of implant:

            CA




                                                  1
Case 1:14-ml-02570-RLY-TAB Document 22517 Filed 08/10/22 Page 2 of 5 PageID #:
                                 132820



      5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

         CA

      6. Plaintiff’s/Deceased Party’s current state of residence:

         CA

      7. District Court and Division in which venue would be proper absent direct filing:

         United States District Court, Northern District of California, San Jose Division

      8. Defendants (Check Defendants against whom Complaint is made):

                     Cook Incorporated

                     Cook Medical LLC

                     William Cook Europe ApS

      9. Basis of Jurisdiction:

                     Diversity of Citizenship

                     Other:

         a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:
          For purposes of remand and trial, venue is proper pursuant to 28 U.S.C. §1391 in the
          federal judicial district of each Plaintiff’s state of residence. A substantial amount of
          activity giving rise to the claims occurred in this District, and Defendants may be
          found within this District. Therefore, venue is proper in this jurisdiction under 28
          U.S.C. §1391.

         b. Other allegations of jurisdiction and venue:




                                                2
Case 1:14-ml-02570-RLY-TAB Document 22517 Filed 08/10/22 Page 3 of 5 PageID #:
                                 132821



      10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

         (Check applicable Inferior Vena Cava Filters):

                     Günther Tulip® Vena Cava Filter

                     Cook Celect® Vena Cava Filter

                     Gunther Tulip Mreye

                     Cook Celect Platinum

                     Other:


      11. Date of Implantation as to each product:

          May 2, 2008



      12. Hospital(s) where Plaintiff was implanted (including City and State):

          Regional Medical Center

          San Jose, CA

      13. Implanting Physician(s):

          Arash Padidar, M.D.




      14. Counts in the Master Complaint brought by Plaintiff(s):

                     Count I:        Strict Products Liability – Failure to Warn

                     Count II:       Strict Products Liability – Design Defect

                     Count III:      Negligence

                     Count IV:       Negligence Per Se




                                               3
Case 1:14-ml-02570-RLY-TAB Document 22517 Filed 08/10/22 Page 4 of 5 PageID #:
                                 132822



                        Count V:      Breach of Express Warranty

                        Count VI:     Breach of Implied Warranty

                        Count VII: Violations of Applicable              CA               (insert State)

                        Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade Practices

                        Count VIII:   Loss of Consortium

                        Count IX:     Wrongful Death

                        Count X:      Survival

                        Count XI:     Punitive Damages

                        Other:

                        SOHDVHVWDWHWKHIDFWVVXSSRUWLQJthis Count in the space, immediately below)

                        Other:        Fraudulent Concealment

                        SOHDVHVWDWHWKHIDFWVVXSSRUWLQJthis Count in the space, immediately below)

              Additional facts supporting Counts I, III, V, VI, VII, XI and Fraudulent

              Concealment are included in Exhibit "A" which is incorporated by reference

              herein.




      15. Attorney(s) for Plaintiff(s):
          Ben C. Martin

          Thomas Wm. Arbon




                                                 4
Case 1:14-ml-02570-RLY-TAB Document 22517 Filed 08/10/22 Page 5 of 5 PageID #:
                                 132823



      1. Address and bar information for Attorney for Plaintiff(s):

          3141 Hood Street, Suite 600, Dallas, TX 75219

         Ben C. Martin, Bar No. 13052400

         Thomas Wm. Arbon, Bar No. 01284275



RESPECTFULLY SUBMITTED this 9th                day of ______________
                                                       August        ________
                                                                      2022    .


                                                   /s/ Ben C. Martin
                                                   %HQ&0DUWLQ(VTXLUH 7;%DU1R 
                                                   0ARTIN_%$8*+0$13//&
                                                   +RRG6WUHHW6XLWH
                                                   'DOODV7;
                                                   7HOHSKRQH
                                                   )DFVLPLOH
                                                   EPDUWLQ#PDUWLQEDXJKPDQFRP

                                                   Attorney for Plaintiff




                                               5
